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                                                           9   INTUIT INC.

                                                          10

                                                          11                              UNITED STATES DISTRICT COURT

                                                          12                             NORTHERN DISTRICT OF CALIFORNIA
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13                                    SAN JOSE DIVISION
                                          MOUNTAIN VIEW




                                                          14

                                                          15   IN RE INTUIT DATA LITIGATION                Master Docket No. 15-CV-01778-EJD

                                                          16                                               NOTICE OF MOTION AND MOTION
                                                                                                           TO DISMISS PLAINTIFFS’
                                                          17                                               CONSOLIDATED AMENDED
                                                                                                           COMPLAINT PURSUANT TO RULE
                                                          18   THIS DOCUMENT RELATES TO:                   12(B)(1) AND RULE 12(B)(6) OF THE
                                                                                                           FEDERAL RULES OF CIVIL
                                                          19                  ALL ACTIONS                  PROCEDURE; MEMORANDUM OF
                                                                                                           POINTS AND AUTHORITIES IN
                                                          20                                               SUPPORT THEREOF

                                                          21                                               Date:       February 18, 2016
                                                                                                           Time:       9:00 a.m.
                                                          22                                               Location:   Courtroom 4, 5th floor
                                                                                                           Judge:      The Hon. Edward J. Davila
                                                          23

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                                                               MEMO. OF POINTS AND AUTHORITIES IN
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                                                               Arbitration Plaintiffs        Plaintiffs Knoch, Lebinski, Siegel, Stock, and Williams
                                                           3
                                                               Brown                         Plaintiff Richard Brown, a resident of Pennsylvania
                                                           4
                                                               CAC                           Consolidated Amended Complaint, filed Sept. 29, 2015 (Dkt. No.
                                                           5                                 51)

                                                           6   Co Decl.                      Declaration of Claudine R.L. Co in Support of: (1) Motion to
                                                                                             Compel Arbitration; and (2) Motion to Dismiss Pursuant to Rule
                                                           7                                 12(b)(1) and Rule 12(b)(6), filed concurrently herewith
                                                           8   Cole Decl.                    Declaration of Rodger R. Cole in Support of: (1) Motion to
                                                           9                                 Compel Arbitration; and (2) Motion to Dismiss Pursuant to Rule
                                                                                             12(b)(1) and Rule 12(b)(6), filed concurrently herewith
                                                          10
                                                               CRA                           California Customer Records Act, California Civil Code
                                                          11                                 §§ 1798.80, et seq.
                                                          12   Customer Plaintiffs           Diaz, Knoch, Lebinski, Siegel, Stock, and Williams
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                                                               Data Breach Victim Class      Customer Plaintiffs (see CAC ¶ 133)
                                                          14   Diaz                          Plaintiff Christine Diaz, a resident of Ohio
                                                          15   Diaz Compl.                   Complaint filed in Diaz, et al. v. Intuit, et al., Case No. 15-cv-
                                                          16                                 01778 (N.D. Cal., filed Apr. 20, 2015) (Dkt. No. 1)

                                                          17   Fraudulent Tax Return         Plaintiffs1
                                                               Filing Class
                                                          18
                                                               FTC                           Federal Trade Commission
                                                          19
                                                               Fugatt                        Plaintiff Michelle Fugatt, a resident of Alabama
                                                          20
                                                               GLBA                          Gramm-Leach Bliley Act
                                                          21
                                                               ICGFFD                        Implied covenant of good faith and fair dealing
                                                          22
                                                               Intuit                        Defendant Intuit Inc.
                                                          23

                                                          24   IRC                           Internal Revenue Code

                                                          25   IRS                           Internal Revenue Service

                                                          26
                                                               1
                                                          27    For purposes of this Motion only, Intuit assumes Williams’ omission from the Fraudulent Tax
                                                               Return Filing Class is a scrivener’s error and presumes she is included in this alleged class. See
                                                          28   CAC at ¶ 133 (listing Brown twice, but omitting Williams).
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                                                               IRS Pub. 1345             IRS Publication 1345, “Handbook for Authorized IRS e-file
                                                           4                             Providers of Individual Income Tax Returns,” attached as Exhibit B
                                                                                         to the Cole Decl.
                                                           5
                                                               IRS Pub. 3112             IRS Publication 3112, “IRS e-file Application and Participation,”
                                                           6                             attached as Exhibit C to the Cole Decl.
                                                           7   Knoch                     Plaintiff Carol Knoch, a resident of Illinois
                                                           8   Knoch Compl.              Complaint filed in Knoch v. Intuit, Case No. 15-cv-3560 (N.D. Ill.,
                                                                                         filed Apr. 24, 2015) (Dkt. No. 1), attached as Exhibit G to the Cole
                                                           9
                                                                                         Decl.
                                                          10
                                                               Lebinski                  Plaintiff James Lebinski, a resident of Connecticut
                                                          11
                                                               Lebinski Compl.           Complaint filed in Lebinski v. Intuit, Case No. 15-cv-02209 (N.D.
                                                          12                             Cal., filed May 15, 2015) (Dkt. No. 1)
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                                                               Motion                    Intuit’s Motion to Dismiss Plaintiffs’ Consolidated Amended
                                                                                         Complaint Pursuant to Rule 12(b)(1) or Rule 12(b)(6) of the
                                                          14                             Federal Rules of Civil Procedure
                                                          15
                                                               Non-California Customer   Plaintiffs Diaz, Knoch, Lebinski, Stock, and Williams
                                                          16   Plaintiffs

                                                          17   Non-Customer Plaintiffs   Plaintiffs Brown and Fugatt

                                                          18   PII                       Personally identifiable information

                                                          19   Plaintiffs                Brown, Diaz, Fugatt, Knoch, Lebinski, Siegel, Stock, and Williams

                                                          20   RJN                       Request for Judicial Notice in Support of Defendant Intuit Inc.’s
                                                                                         Motion to Dismiss Plaintiffs’ Consolidated Amended Complaint,
                                                          21                             filed concurrently herewith
                                                          22
                                                               Section 1798.81.5         CRA, California Civil Code § 1798.81.5
                                                          23
                                                               Section 1798.82           CRA, California Civil Code § 1798.82
                                                          24
                                                               Section 7216              26 U.S.C. § 7216, et seq.
                                                          25
                                                               Siegel                    Plaintiff Todd Siegel, a resident of California
                                                          26
                                                               SSN                       Social Security Number
                                                          27

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                                                               Stock                     Plaintiff David Stock, a resident of Maryland
                                                           4
                                                               Stock Compl.              Complaint filed in Stock v. Intuit, Case No. 15-cv-02287 (N.D.
                                                           5                             Cal., filed May 21, 2015) (Dkt. No. 1)

                                                           6   TTD                       TurboTax Desktop

                                                           7   TTD EULAs                 TY10 TTD EULA, TY13 TTD EULA, and TY14 TTD EULA
                                                           8   TTO                       TurboTax Online
                                                           9   TTO Customer Plaintiffs   Knoch, Lebinski, Siegel, and Stock
                                                          10   TTO TOS                   TY13 TTO TOS and TY14 TTO TOS
                                                          11   TY                        Tax Year
                                                          12
                                                               TY10 Customer Plaintiff   Diaz
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                                                          13
                                          MOUNTAIN VIEW




                                                               TY10 TTD EULA             Intuit Software End User License Agreement TurboTax Desktop
                                                          14                             Software-Tax Year 2010, attached as Exhibit 11 to the Co Decl.
                                                                                         and as Exhibit 1 to the Diaz Compl.
                                                          15
                                                               TY13 TTD EULA             Intuit Software End User License Agreement TurboTax Desktop
                                                          16                             Software—Tax Year 2013, attached as Exhibit 9 to the Co Decl.
                                                          17   TY13 TTO TOS              Intuit Terms of Service for TurboTax Online Tax Preparation
                                                                                         Services – Tax Year 2013, attached as Exhibit 2 to the Co Decl.
                                                          18

                                                          19   TY13-14 Customer          Knoch, Lebinski, Siegel, Stock, and Williams (also the Arbitration
                                                               Plaintiffs                Plaintiffs)
                                                          20
                                                               TY14 TTD EULA             Intuit Software End User License Agreement TurboTax Desktop
                                                          21                             Software—Tax Year 2014, attached as Exhibit 10 to the Co Decl.
                                                          22   TY14 TTO TOS              Intuit Terms of Service for TurboTax Online Tax Preparation
                                                                                         Services – Tax Year 2014, attached as Exhibit 5 to the Co Decl.
                                                          23
                                                               Williams                  Plaintiff Marilyn Williams, a resident of Maryland
                                                          24

                                                          25

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                                                          28
                                                               NOTICE OF MOTION AND MOTION TO DISMISS;
                                                               MEMO. OF POINTS AND AUTHORITIES IN
                                                               SUPPORT THEREOF                                 x                    Case No.: 5:15-cv-01778-EJD
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                                                           1                                          TABLE OF ARGUMENTS

                                                           2                               Non-Customers                       Customers
                                                               Argument(s)                 Brown Fugatt    Diaz   Knoch   Lebinski   Siegel    Stock    Williams
                                                           3                                (PA)    (AL)   (OH)    (IL)    (CT)      (CA)      (MD)      (MD)
                                                               Claims subject to Intuit                     Yes    Yes      Yes       Yes       Yes       Yes
                                                           4   Terms of Service
                                                               (“TOS”) or End User
                                                           5   License Agreement
                                                               (“EULA”)
                                                           6   Claims subject to                                   Yes      Yes       Yes       Yes         Yes
                                                               arbitration/small claims
                                                           7   Count 1: UCL2
                                                               Count 2: CRA                 Not asserted
                                                           8   Non-CA residents cannot                     Yes     Yes      Yes                 Yes         Yes
                                                               bring CRA claim
                                                           9   Intuit is exempt from                       Yes     Yes      Yes       Yes       Yes         Yes
                                                               § 1798.81.5 under
                                                          10   § 1798.81.5(e)(5)
                                                               No Art. III standing for                    Yes     Yes      Yes       Yes       Yes         Yes
                                                          11
                                                               § 1798.82 claim
                                                               Count 3: Aiding and
                                                          12
                                                               Abetting Fraud
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                                                               Actual knowledge             Yes      Yes   Yes     Yes      Yes       Yes       Yes         Yes
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                                                               insufficiently pled
                                                          14   Substantial assistance       Yes      Yes   Yes     Yes      Yes       Yes       Yes         Yes
                                                               insufficiently pled/fails
                                                          15   Rule 9(b)
                                                               Count 4: Negligent
                                                          16   Enablement of Third
                                                               Party Imposter Fraud
                                                          17   Not a cognizable claim       Yes      Yes   Yes     Yes      Yes       Yes       Yes         Yes
                                                               under CA law
                                                          18   Barred by economic loss                     Yes     Yes      Yes       Yes       Yes         Yes
                                                               doctrine
                                                          19   No duty                      Yes      Yes
                                                               Count 5: Negligence
                                                          20   Barred by economic loss                     Yes     Yes      Yes       Yes       Yes         Yes
                                                               doctrine
                                                          21   No duty                      Yes      Yes

                                                          22

                                                          23

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                                                          27
                                                               2
                                                                Although Intuit does not move on Plaintiffs’ First Count for violation of the UCL on this
                                                          28   Motion, Intuit in no way concedes that the claim is adequately pled.
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                                                           1                                        TABLE OF ARGUMENTS
                                                                                                         (continued)
                                                           2
                                                                                           Non-Customers                       Customers
                                                           3   Argument(s)                 Brown Fugatt    Diaz   Knoch   Lebinski   Siegel    Stock    Williams
                                                                                            (PA)    (AL)   (OH)    (IL)    (CT)      (CA)      (MD)      (MD)
                                                           4   Count 6: Breach of
                                                               Contract
                                                           5   No contract with Intuit      Yes    Yes
                                                               No contractual provision                            Yes      Yes       Yes       Yes
                                                           6   limiting “three state e-
                                                               filings per every one
                                                           7   federal return”
                                                               No allegation of more                               Yes      Yes       Yes       Yes       Yes
                                                           8   than 3 state e-filings
                                                               No provision otherwise                      Yes     Yes      Yes       Yes       Yes       Yes
                                                           9   alleged or purportedly
                                                               breached causing alleged
                                                          10   damages
                                                               No breach of ICCGFD                         Yes     Yes      Yes       Yes       Yes       Yes
                                                          11   because inconsistent with
                                                               express contract terms
                                                          12   Count 7: Breach of
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                                                               Implied Warranty of
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                                                               Merchantability
                                                               No privity between Intuit    Yes    Yes
                                                          14   and plaintiff
                                                               Valid disclaimer of                         Yes     Yes      Yes       Yes       Yes       Yes
                                                          15   implied warranty of
                                                               merchantability
                                                          16   Count 8: Unjust
                                                               enrichment
                                                          17
                                                               Not a cognizable claim       Yes    Yes     Yes     Yes      Yes       Yes       Yes       Yes
                                                               under CA law
                                                          18

                                                          19

                                                          20

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                                                          28
                                                               NOTICE OF MOTION AND MOTION TO DISMISS;
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                                                           1                        NOTICE OF MOTION AND MOTION TO DISMISS

                                                           2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                                                           3           PLEASE TAKE NOTICE that on February 18, 2016, at 9:00 a.m., or as soon thereafter as

                                                           4   the matter may be heard, before the Hon. Edward J. Davila, Courtroom 4, 5th Floor of the above-

                                                           5   entitled court, located at 280 South First Street, San Jose, CA 95113, Intuit will move the Court to

                                                           6   dismiss the Consolidated Amended Complaint of Richard Brown, Christine Diaz, Michelle

                                                           7   Fugatt, Carol Knoch, James Lebinski, Todd Siegel, David Stock, and Marilyn Williams3 pursuant

                                                           8   to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6). Intuit’s Motion is based on this Notice

                                                           9   of Motion and Motion, the accompanying Memorandum of Points and Authorities, Declarations

                                                          10   of Claudine R.L. Co and Rodger R. Cole and their attached exhibits, Request for Judicial Notice,

                                                          11   all papers on file in this consolidated action and any related actions, and such other written or oral

                                                          12   argument as may be properly presented to the Court at the time of hearing or otherwise.
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                                                                                            STATEMENT OF RELIEF SOUGHT
                                                          14           Intuit seeks dismissal of the Second Count pursuant to Rule 12(b)(1) for lack of Article III

                                                          15   standing and dismissal of the Second through Eighth Counts pursuant to Rule 12(b)(6) for failure

                                                          16   to state a claim upon which relief can be granted.

                                                          17                       MEMORANDUM OF POINTS AND AUTHORITIES
                                                          18                                       I.      INTRODUCTION
                                                          19           This case is unlike any of the “data breach” lawsuits or cases reported in the press. No

                                                          20   factual allegations plausibly suggest Intuit’s systems were “breached.” Rather, this case involves

                                                          21   eight Plaintiffs (customers and non-customers of Intuit) whose personal information had been

                                                          22   previously compromised at some unknown time by unknown third parties through unknown

                                                          23   means. Unknown third-party fraudsters then subsequently used Plaintiffs’ stolen information this

                                                          24   past tax season to e-file fraudulent tax returns with the IRS and State taxing authorities through

                                                          25   TurboTax. While Plaintiffs generally complain that Intuit did not do enough to notify them of or

                                                          26
                                                               3
                                                          27     Intuit has also moved to compel arbitration and stay proceedings against the Arbitration
                                                               Plaintiffs Knoch, Lebinski, Siegel, Stock, and Williams, and thus moves to dismiss their claims in
                                                          28   the alternative only if its motion to compel arbitration is not granted.
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                                                           1   stop these fraudulent returns, they do not allege how Intuit could have known these returns were

                                                           2   fraudulent when filed. Nor do they allege what Intuit—as an authorized IRS e-file provider—

                                                           3   could have done to prevent the transmission of these returns to the taxing authorities.

                                                           4   Nevertheless, Plaintiffs sued Intuit under several contract and tort theories seeking compensation

                                                           5   for a wide range of harms they purportedly suffered as victims of identity theft and tax return

                                                           6   fraud. But on the facts alleged, and in light of the governing contracts, Plaintiffs either fail to

                                                           7   state a claim upon which relief may be granted or lack standing to bring their claims.

                                                           8                        II.     STATEMENT OF ISSUES TO BE DECIDED
                                                           9   Sixth Count for Breach of Contract and Seventh Count for Breach of the Implied Warranty of
                                                               Merchantability (brought by all Plaintiffs):
                                                          10
                                                                  1. Should the Non-Customer Plaintiffs’ Sixth and Seventh Counts be dismissed without
                                                          11         leave to amend because no contract with Intuit is alleged nor can be alleged?
                                                          12      2. Should the Customer Plaintiffs’ Sixth Count be dismissed because they fail to identify any
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                                                                     express or implied contractual provision purportedly breached by Intuit?
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                                                                  3. Should the Customer Plaintiffs’ Seventh Count be dismissed without leave to amend
                                                          14         because Intuit validly disclaimed any implied warranty of merchantability under Cal.
                                                                     Com. Code § 2316(2)?
                                                          15
                                                               Fifth Count for Negligence and Fourth Count for Negligent Enablement of Third Party Imposter
                                                          16   Fraud (brought by all Plaintiffs):
                                                          17      4. Should the Customer Plaintiffs’ Fifth and Fourth Counts be dismissed without leave to
                                                                     amend because the economic loss doctrine bars their claims?
                                                          18
                                                                  5. Should the Non-Customer Plaintiffs’ Fifth and Fourth Counts be dismissed without leave
                                                          19         to amend because Intuit owes them no duty?
                                                          20      6. Should the Fourth Count be dismissed without leave to amend because it is not a
                                                                     cognizable claim?
                                                          21
                                                               Third Count for Aiding and Abetting Fraud (brought by all Plaintiffs):
                                                          22
                                                                  7. Should the Third Count be dismissed because Plaintiffs fail to allege actual knowledge?
                                                          23
                                                                  8. Should the Third Count be dismissed because Plaintiffs fail to allege substantial
                                                          24         assistance, including with the particularity required by Rule 9(b)?
                                                          25   Second Count for Violation of CRA (brought by Customer Plaintiffs):
                                                          26      9. Should the Non-California Customer Plaintiffs’ Second Count be dismissed without leave
                                                                     to amend because they are not California residents?
                                                          27
                                                                  10. Should the Second Count for alleged violation of Section 1798.81.5 be dismissed because
                                                          28          Intuit is exempt under Section 1798.81.5(e)(5)?
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                                                           1        11. Should the Second Count for alleged violation of Section 1798.82 be dismissed pursuant
                                                                        to Rule 12(b)(1) because Plaintiffs lack Article III standing?
                                                           2
                                                               Eighth Count for Unjust Enrichment (brought by all Plaintiffs):
                                                           3
                                                                    12. Should the Eighth Count be dismissed without leave to amend because it is not a
                                                           4            cognizable claim?

                                                           5                                    III.    STATEMENT OF FACTS4

                                                           6   A.      The Recent Rise in Identity Theft and Tax Refund Fraud

                                                           7           In the past year there was an unprecedented increase in identity theft and fraud across all

                                                           8   industries. CAC ¶¶ 32, 37-38, nn.10, 15-21.5 Among that fraud, there was a substantial increase

                                                           9   in fraudulent tax filings submitted to the IRS and state taxing authorities. Id. ¶¶ 29, 31, nn.7, 9.

                                                          10   The fraudulent tax filings generally took one of two forms: (a) stolen identity refund fraud

                                                          11   (“SIRF”) or (b) account takeovers (“ATOs”). Id. ¶¶ 35, 34, nn.13, 24. SIRF involves a third-

                                                          12   party criminal attempting to file a tax return using an individual’s PII that was obtained from a
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                                                          13   third-party source (i.e., outside of Intuit). Id. ¶ 35, n.13. In this situation, the third-party criminal
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                                                          14   can create a new TurboTax account for an individual whose PII was stolen, including one who

                                                          15   may have never used TurboTax. Id. ¶¶ 29, 35, nn.7, 13. ATO involves a fraudster’s use of valid

                                                          16   login credentials obtained from a source outside of Intuit to illegally access a customer’s existing

                                                          17   TurboTax account. Id. ¶ 45, n.24. In both cases, fraudsters illegally obtain information from

                                                          18   either massive and well-publicized data breaches that have nothing to do with Intuit, or through

                                                          19   less popular means such as phishing schemes or malware installations on a victim’s computer.

                                                          20   Such information misappropriation affects individuals across industries. Id. ¶¶ 29, 47, nn.7, 26.

                                                          21           The increase in attempted SIRF and ATOs in TY14 is attributable to the increased

                                                          22   availability of PII and valid login credentials acquired through other (non-Intuit) entities and the

                                                          23   increased deployment of aggressive phishing and malware campaigns. Id. ¶¶ 29, 45, 47, nn.7, 24,

                                                          24   4
                                                                 All citations herein are made to CAC, the documents incorporated therein by reference, and any
                                                          25   other matters judicially noticeable, and unless otherwise stated are assumed true for purposes of
                                                               this Motion only. See, e.g., Antman v. Uber Techs., Inc, Case No. 3:15-cv-01175-LB, 2015 WL
                                                          26   6123054, at *2 n.2 (N.D. Cal. Oct. 19, 2015) (citing Knievel v. ESPN, 393 F.3d 1068, 1076 (9th
                                                               Cir. 2005)) (proper to consider under incorporation-by-reference doctrine materials referenced
                                                          27   and relied on in pleading); see also RJN.
                                                               5
                                                                For the Court’s convenience, copies of the materials from the 26 URLs cited in the CAC are
                                                          28   submitted as Exhibit A (with numbered subparts 1-26) to the Cole Decl. See Cole Decl. ¶ 3.
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                                                           1   26. For example, the Office of Personnel Management revealed around June 4, 2015, and July 9,

                                                           2   2015, (after the regular tax season) that it had suffered one of the largest government data

                                                           3   breaches in U.S. history, whereby the PII of 4.2 million current and former government

                                                           4   employees and 21 million other individuals had been compromised (including the background

                                                           5   investigation records of current, former and prospective federal employees and contractors). See

                                                           6   Cole Decl. ¶¶ 7-8, Exs. E-F. Similarly, it was reported after the regular tax season that over

                                                           7   300,000 taxpayer accounts had been illegally accessed through the IRS “Get Transcript” service

                                                           8   since February 2015. See id. ¶ 6, Ex. D. Third-party criminals acquire personal information

                                                           9   illegally through any number of such sources, and share or sell it on underground forums, making

                                                          10   it accessible to other fraudsters.

                                                          11           Criminals also try to exploit consumers’ tendency to re-use the same user IDs and
                                                          12   passwords across different websites by trying to log on to various websites (including Intuit’s
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                                                               websites) using credentials illegally acquired elsewhere, including those acquired through the use
                                                          14   of malware or phishing scams. CAC ¶¶ 45, 47, nn.24, 26. Indeed, the CAC itself alleges that
                                                          15   from 2014 to March 2015 hundreds of millions of identities and personal information had been
                                                          16   exposed. Id. ¶ 38, nn.15-21. This growth in stolen identities increased even further during the
                                                          17   2015 tax season. See Cole Decl. ¶¶ 6-8, Exs. D-F. In this regard, the increase in SIRF and ATOs
                                                          18   is reflective of an industry-wide phenomenon and is not specific to Intuit.
                                                          19   B.      Intuit
                                                          20           Intuit develops and offers various financial and tax preparation software and related

                                                          21   services, including the leading tax preparation software TurboTax. CAC ¶¶ 19-20. TurboTax,

                                                          22   offered in online and desktop versions, is utilized by millions of American taxpayers each year to

                                                          23   file their federal and state tax returns. Id. ¶ 19-22, n.7. As a provider of do-it-yourself tax

                                                          24   preparation software and as an authorized IRS e-file provider, Intuit is subject to a complex

                                                          25   federal regulatory environment, including certain provisions of the IRC, its attendant regulations,

                                                          26   and published IRS guidance. See, e.g., Section 7216; 26 C.F.R. § 301.7216; Cole Decl. ¶¶ 4-5,

                                                          27   Exs. B-C (IRS Pubs. 1345 and 3112). This regulatory environment does not permit a do-it-

                                                          28   yourself software provider like Intuit to use taxpayer information to block returns from being e-
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                                                           1   filed unless the IRS has provided direct guidance. See, e.g., Section 7216(a) (prohibiting any

                                                           2   person engaged in “providing services in connection with the preparation of [tax returns]” from

                                                           3   “us[ing] any such information for any purpose other than to prepare, or assist in preparing, any

                                                           4   such return”); see generally IRS Pub. 1345. Rather, it generally provides two rules for when

                                                           5   Intuit is permitted to stop a return from being filed: (1) when there is an attempt to file a second

                                                           6   return using the same Taxpayer Identification Number (e.g., SSN); and (2) when more than five

                                                           7   electronic returns are filed from one software package or one e-mail address. IRS Pub. 1345 at

                                                           8   12, 43. Intuit is otherwise required to “[t]ransmit all electronic portions of returns within three

                                                           9   calendar days of receipt.”6 Id. at 34.

                                                          10           In its role as an IRS authorized e-file provider, Intuit is also subject to rules and

                                                          11   regulations with respect to the privacy and security of taxpayer information. For example, the

                                                          12   IRS mandates six “security, privacy, and business standards to better serve taxpayers and protect
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                                                          13   [the taxpayer] information collected, processed and stored by Online [e-file] Providers.” IRS
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                                                          14   Pub. 1345 at 5-6. Such standards “are based on industry best practices and are intended to

                                                          15   supplement the [GLBA] and the implementing rules and regulations promulgated by the Federal

                                                          16   Trade Commission.” Id.; see also, e.g., IRS Pub. 3112 at 18; 16 C.F.R. § 314 (FTC Safeguards

                                                          17   Rule requiring data security measures for financial institutions). While the CAC discusses at

                                                          18   length the recent rash of mass data breaches and subsequent exposure of millions of individuals’

                                                          19   PII (see CAC ¶¶ 37, 38), it alleges no facts suggesting that Intuit’s systems were “hacked” or that

                                                          20   Intuit suffered a “data breach.” See generally id. Indeed, Plaintiffs do not allege if or how Intuit

                                                          21   ever failed to meets it statutory and regulatory obligations with respect to its use and safeguarding

                                                          22   of taxpayer information generally, or with respect to Plaintiffs’ personal information specifically.

                                                          23
                                                               6
                                                          24     It is important to understand that fraudulent returns and suspicious returns are not synonymous.
                                                               Intuit does not determine whether suspicious activity represents actual fraud—only the IRS or the
                                                          25   equivalent state taxing authority determines which tax returns are fraudulent, and whether to
                                                               accept or reject a tax return. See Cole Decl. ¶ 14. Ex. L (IRS Commissioner describing “clear
                                                          26   lines of distinction between the roles [government and the private sector] play in the tax
                                                               ecosystem” and how “[i]ndustry is providing essential help by sharing key information” to “allow
                                                          27   the government to quickly and accurately make determinations of what is fraudulent and what is
                                                               not”); see also id. ¶ 15, Ex. M. Thus, even if Intuit believes a return might be suspicious, the
                                                          28   regulatory framework limits Intuit’s options on what it can do with such a return.
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                                                           1   C.      Plaintiffs

                                                           2           1.     Non-Customer Plaintiffs Brown and Fugatt

                                                           3           Richard Brown is a Pennsylvania resident. CAC ¶ 7. Michelle Fugatt is an Alabama

                                                           4   resident. Id. ¶ 9. Neither were ever TurboTax customers. Id. ¶¶ 65, 85. They thus have never

                                                           5   used TurboTax, never provided their PII or paid money to Intuit, and have no contractual

                                                           6   relationship with Intuit. Id. Both allege they were victims of identity theft, but do not allege

                                                           7   when or how this occurred. Id. ¶¶ 68, 86. Both claim they were also victims of fraudulent tax

                                                           8   returns filed through TurboTax in their names in TY14. Id. ¶¶ 66, 86.

                                                           9           2.     TY10 Customer Plaintiff Diaz

                                                          10           Christine Diaz is an Ohio resident. Id. ¶ 8. In 2011, Diaz purchased TTD and the TY10

                                                          11   TTD EULA governs her relationship with Intuit. Id. ¶¶ 72, 76; Diaz Compl. ¶ 53, Ex. 1. Diaz

                                                          12   claims she provided her and her family’s PII to Intuit to e-file her and her husband’s joint Ohio
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                                                          13   state and federal tax returns in TY10. CAC ¶ 73. Since then, she has not used TurboTax. Id. ¶
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                                                          14   77. Diaz alleges that in March 2015 she learned that a federal return and four State returns were

                                                          15   fraudulently filed in her name in January 2015. Id. ¶¶ 78, 79, 81. While Diaz alleges, in

                                                          16   conclusory fashion, that Intuit “enabled criminals to access [her] account information,” she fails

                                                          17   to allege any supporting facts, including: when or how any such criminals purportedly accessed

                                                          18   her “account information,” what this “account information” consisted of, or what Intuit did (or

                                                          19   did not do) that “enabled” them to do so. Id. ¶¶ 82-84.

                                                          20           3.     TY13-14 Customer Plaintiffs Knoch, Lebinski, Siegel, Stock, and Williams

                                                          21           Carol Knoch is an Illinois resident, has been a TurboTax customer for 12 years, and e-

                                                          22   filed her returns through TTO in at least TY13 and TY14. Id. ¶¶ 91, 93, 95; Co Decl. ¶ 23.7 In

                                                          23   March 2015 (before filing her TY14 return), Knoch received a refund check from the IRS for

                                                          24   7
                                                                 Knoch, as well as Lebinski and Stock, do not specify if they were TTO or TTD customers in
                                                               TY13 or TY14. See generally id. However, the Court should take judicial notice of the fact that
                                                          25   they were all TTO users. See RJN at Part II; Co Decl. ¶¶ 23-24. These are facts not reasonably
                                                               subject to dispute and all three have alleged Intuit’s purported breach of their contracts. They
                                                          26   have thus placed such contracts at issue in their pleading. They cannot now avoid the terms of
                                                               these contracts (i.e., the TY13 TTO TOS) by failing to attach them to the CAC. See Branch v.
                                                          27   Tunnell, 14 F.3d 449, 454 (9th Cir. 1994), overruled on other grounds, Galbraith v. Cty. of Santa
                                                               Clara, 307 F.3d 1119 (9th Cir. 2002).
                                                          28
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                                                           1   $7,942. Id. ¶ 92. Knoch claims a TurboTax representative told her that her personal information

                                                           2   had been “breached” through TurboTax and that her and her husband’s personal information had

                                                           3   been taken from her TY13 tax return to file a fraudulent federal return. Id. ¶ 93. Knoch

                                                           4   nevertheless used TTO to complete her TY14 federal and state returns, but claims she was

                                                           5   “forced” to pay $100 to print her paper returns because she could not e-file her returns. Id. ¶ 95.

                                                           6          James Lebinski is a Connecticut resident, and has used TurboTax to file joint federal and

                                                           7   state returns with his wife for at least 10 years. Id. ¶ 11; Lebinski Compl. ¶ 8. Lebinski is a TTO

                                                           8   user and claims that he had started his TY14 returns, paid “the TurboTax tax preparation fee,” but

                                                           9   received an “error message” and could not e-file his federal or state returns. CAC ¶ 96; supra

                                                          10   n.6. Lebinski alleges a TurboTax representative “confirmed” he was a victim of identity theft,

                                                          11   that he was not an ATO victim, and that a new TurboTax account had been opened using his

                                                          12   personal information. CAC ¶ 97.
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                                                          13          Todd Siegel is a California resident, and has used TurboTax to prepare his California and
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                                                          14   federal tax returns every year since 2008. Id. ¶ 101. In 2015, Siegel paid approximately $120 to

                                                          15   use TTO to file joint returns with his wife. Id. ¶ 103; supra n.6. Siegel attempted to e-file his

                                                          16   returns in mid-July 2015 (after requesting an extension in April), but learned a federal return had

                                                          17   already been e-filed using his personal information on February 27, 2015. CAC ¶ 105.

                                                          18          David Stock is a Maryland resident, and has used TurboTax for the past seven or eight

                                                          19   years. Id. ¶¶ 13, 111. For TY14, Stock purchased TTO for $94.98 and logged into his TurboTax

                                                          20   account to complete his returns, but could not e-file his return after receiving a pop-up message

                                                          21   stating a return had already been filed using his SSN. Id. ¶¶ 113, 114.

                                                          22          Marilyn Williams is also a Maryland resident, and has used TTD for the last 14 years.

                                                          23   Id.¶¶ 14, 120. When Williams tried to e-file her returns in April 2015, she learned tax returns had

                                                          24   already been e-filed on TurboTax using her SSN. Id. ¶ 123. After calling Intuit, she learned that

                                                          25   a federal return and three state returns had been filed in her name. Id. ¶ 124.

                                                          26          4.      Plaintiffs’ Alleged Harm
                                                          27          All eight Plaintiffs allege similar harms, including: lost time to deal with the

                                                          28   “ramifications of the fraud” (id. ¶¶ 69-71, 82-84, 87-90, 94-95, 98, 100, 107-09, 116, 125-26 128,
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                                                           1   130-131); the inability to e-file their returns (id. ¶¶ 70, 83, 88, 95, 98-99, 109, 114, 130); hardship

                                                           2   due to the delay in any refunds (id. ¶¶ 70, 83, 88, 98, 109, 116, 130); being at heightened risk of

                                                           3   further identity theft (id. ¶¶ 71, 84, 90, 110, 132); and the cost of ongoing credit monitoring (id.

                                                           4   ¶¶ 71, 84, 90, 98, 108, 129). Only Knoch, Lebinski, Siegel, and Stock allege they paid Intuit in

                                                           5   TY14, and of those, only Stock alleges he requested, but was not given, a refund. Id. ¶ 118. The

                                                           6   CAC does not consistently delineate which purported harms arise from the initial identity theft

                                                           7   versus the alleged tax refund fraud. Plaintiffs also allege no facts concerning: who committed

                                                           8   the initial identity theft (nor when or how); how Intuit could have known of or prevented the prior

                                                           9   identity theft; who committed the subsequent tax fraud; how Intuit could have known or

                                                          10   determined that the tax returns were fraudulent when filed; whether or how Intuit purportedly

                                                          11   failed to protect Plaintiffs’ data; and what Intuit could have done to prevent the fraudulent tax

                                                          12   returns from being filed with the government taxing authorities. See generally id. And none of
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                                                          13   the Plaintiffs allege, nor could they, that their tax refunds, if any, will not be paid. Id.
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                                                          14   D.      The Governing Agreements
                                                          15           Each Customer Plaintiff concedes s/he entered a written agreement with Intuit (id. ¶¶ 196-

                                                          16   198), but the specific agreements are not identified or attached to the CAC. However, Diaz

                                                          17   concedes the TY10 TTD EULA governs her relationship with Intuit. Id. ¶ 76; Diaz Compl. ¶ 53,

                                                          18   Ex. 1. Moreover, Knoch, Lebinski, Siegel, and Stock were TTO users in TY13, thus the TY13

                                                          19   TTO TOS governs their claims. See CAC ¶¶ 91, 96, 101, 111; Co Decl. ¶¶ 23-24; Knoch Compl.

                                                          20   ¶ 56; Stock Compl. ¶¶ 40, 47. Finally, Williams is a TY13 TTD user, thus the TY13 TTD EULA

                                                          21   governs her claims. See CAC ¶ 120; Co Decl. ¶ 25.8

                                                          22           These Agreements contain several key provisions material to this Motion. First, the

                                                          23   Agreements include a “DISCLAIMER OF WARRANTIES” that states the user uses TurboTax

                                                          24   entirely at his or her own risk and that TurboTax is provided “AS IS,” and also disclaims any

                                                          25   express or implied warranties, including any warranty of merchantability or that TurboTax is

                                                          26   8
                                                                 To the extent the Customer Plaintiffs will claim the TY14 TTO TOS or TY14 TTD EULA
                                                          27   instead governs their relationships with Intuit, this is immaterial because their terms are
                                                               substantively identical to the TY13 TTO TOS and TTD EULA. See Co Decl. ¶¶ 26-35; see also
                                                          28   id. at Exs. 2, 5, 9-10.
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                                                           1   secure, free from interruption or theft. See TY13 TTO TOS § A.8.1; see also TY10 TTD EULA

                                                           2   § B.6; TY13 TTD EULA § A.8.1 (similar warranty disclaimers).

                                                           3           Second, the Agreements include a “LIMITATION OF LIABILITY AND

                                                           4   INDEMNITY” provision which expressly states Intuit is not liable for any damages relating to

                                                           5   security, loss or theft of data. See TY13 TTO TOS § A.9; see also TY10 TTD EULA § B.7;

                                                           6   TY13 TTD EULA § A.9 (similar limitations of liability). The TY13 TTO TOS also provide

                                                           7   “Additional Terms and Conditions for the TurboTax Online Tax Preparation Services,” which

                                                           8   includes a further “LIMITATION OF LIABILITY AND DAMAGES” that reminds the user of

                                                           9   Intuit’s limitation of liability, including that Intuit will not be liable for “inability to file your

                                                          10   return, delay in preparing your tax return, any access to, or use of your password and user id by

                                                          11   an unauthorized person.” TY13 TTO TOS § B.8.

                                                          12           Third, the Agreements include express provisions allocating certain responsibilities on the
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                                                          13   user for the security of their information, including their user IDs and passwords. See TY13 TTO
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                                                          14   TOS § A.7.4; TY13 TTD EULA § A.7.5 (“You are responsible for securely managing your

                                                          15   password(s) for the Services and to contact Intuit if you become aware of any unauthorized access

                                                          16   to your account.”); TY10 TTD EULA § B.4; TY13 TTD EULA § B.3 (“You are responsible for

                                                          17   protecting the information on your computer such as by installing anti-virus software, updating

                                                          18   your software, password protecting your files, and not permitting third party physical or

                                                          19   electronic access to your computer.”). The TY13 TTO TOS further provides that the user is the

                                                          20   “only person authorized to use your user ID and password and for maintaining the confidentiality

                                                          21   of your user ID and password. You shall not permit or allow other persons to have access to or

                                                          22   use your user ID and password. You are responsible for the use of the Services under your user

                                                          23   ID.” TY13 TTO TOS § B.6.

                                                          24                                       IV.     LEGAL STANDARDS
                                                          25           A Rule 12(b)(1) motion challenges subject matter jurisdiction and may be either facial or

                                                          26   factual. In re Facebook Internet Tracking Litig., 2015 WL 6438744, at *3 (N.D. Cal. Oct. 23,

                                                          27   2015) (citation omitted). When, as here, a facial challenge is made, the complaint’s material

                                                          28   allegations are assumed true, and the court must determine whether lack of federal jurisdiction
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                                                           1   appears from the face of the complaint itself. Id. Standing is properly challenged through a Rule

                                                           2   12(b)(1) motion. Id. (citing White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000)). A plaintiff has

                                                           3   the burden to establish standing. Id. (citation omitted).

                                                           4           Under Rule 12(b)(6), dismissal is appropriate where plaintiff fails to assert a cognizable

                                                           5   legal theory or allege sufficient facts under a cognizable legal theory. SmileCare Dental Grp. v.

                                                           6   Delta Dental Plan of Cal., Inc., 88 F.3d 780, 782-83 (9th Cir. 1996). A complaint must allege

                                                           7   sufficient well-pleaded facts, “accepted as true, to ‘state a claim to relief that is plausible on its

                                                           8   face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S.

                                                           9   544, 570 (2007)). A plaintiff must provide more than “labels and conclusions, and a formulaic

                                                          10   recitation of the elements of a cause of action” and must also allege facts that, when considered

                                                          11   true, raise the right to relief “above the speculative level.” Twombly, 550 U.S. at 555. Courts

                                                          12   need not accept as true conclusory allegations, unwarranted deductions of fact, or unreasonable
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                                                          13   inferences. Gonzalez v. Planned Parenthood of Los Angeles, 759 F.3d 1112, 1115 (9th Cir.
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                                                          14   2014). Nor must courts accept as true allegations contradicted by documents and materials

                                                          15   referred to in the complaint. Colony Cove Props., LLC v. City of Carson, 640 F.3d 948, 955 (9th

                                                          16   Cir. 2011). When ruling on a motion to dismiss, a court may consider the complaint, documents

                                                          17   attached to, or incorporated by reference into, the complaint, and any matter subject to judicial

                                                          18   notice. Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007). If deficiencies

                                                          19   cannot be cured by amendment, dismissal should be without leave to amend. Cook, Perkiss and

                                                          20   Liehe, Inc. v. Northern Cal. Collection Serv. Inc., 911 F.2d 242, 247 (9th Cir. 1990).

                                                          21                                           V.      ARGUMENT9
                                                          22   A.      Plaintiffs Fail to State a Breach of Contract (Sixth Count)
                                                          23           To state a breach of contract Plaintiffs must show: a contract; Plaintiffs’ performance or

                                                          24   excuse for nonperformance; Intuit’s breach; and resulting damages. McDonald v. John P. Scripps

                                                          25   Newspaper, 210 Cal. App. 3d 100, 104 (1989), as modified (May 10, 1989). As an initial matter,

                                                          26   9
                                                                For purposes of this Motion only, and unless otherwise stated, Intuit applies California law to
                                                          27   Plaintiffs’ claims. In so doing, Intuit does not concede, and expressly reserves, its rights to
                                                               challenge California law’s applicability to one or more of Plaintiffs’ claims, including on class
                                                          28   certification or summary judgment.
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                                                           1   the Non-Customer Plaintiffs’ claim must be dismissed without leave to amend because there is no

                                                           2   contract. CAC ¶ 197 (conceding claim inapplicable to non-customers).

                                                           3          With respect to the remaining Customer Plaintiffs, this count rests on three theories: (1)

                                                           4   Intuit breached a provision limiting “three state e-filings per every one federal return”; (2) Intuit

                                                           5   failed to “protect the data provided it to [sic] by the customer”; and (3) Intuit breached the

                                                           6   ICGFFD to “maintain the security of customers’ data, and to take reasonable measures to protect

                                                           7   customers from criminals using TurboTax to file fraudulent tax returns using such customers’

                                                           8   identities.” Id. ¶¶ 197-199. Each fails in light of the express terms of the governing Agreements.

                                                           9          1.      Plaintiffs Fail to Allege Breach of any “Three State E-Filing” Limitation
                                                          10          The first theory—that Intuit agreed to “impose a limit of three state e-filings”—fails as to
                                                          11   all of the TTO Customer Plaintiffs because no “three state e-filing” limitation exists in the TTO
                                                          12   TOS; it exists only in the TTD EULAs. Compare TY13 TTO TOS with TY10 TTD EULA §
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                                                               A.2.A.3.b and TY13 TTD EULA § B.2.A(3)(b). Thus, the TTO Customer Plaintiffs cannot assert
                                                          14   this breach of contract theory. This claim also independently fails because no Plaintiff besides
                                                          15   Diaz alleges that more than three State returns were e-filed on their behalves. CAC ¶ 93 (only “a
                                                          16   federal return” alleged for Knoch); id. ¶ 97.c (only “a return” alleged for Lebinski); id. ¶¶ 105,
                                                          17   106 (only a “federal return” alleged for Siegel); id. ¶ 115 (vaguely alleging “State and federal tax
                                                          18   returns” for Stock); id. ¶ 124 (only federal and three State filings alleged for Williams).
                                                          19   Accordingly, this breach of contract theory should be dismissed as to all Plaintiffs except Diaz.
                                                          20          2.      Plaintiffs Fail to Allege Any Other Breach of Contract by Intuit
                                                          21          The second theory—that Intuit purportedly promised to “protect the data provided it to

                                                          22   [sic] by the customer”—also fails. First, the only contractual language cited does not support this

                                                          23   conclusory assertion. Rather, Plaintiffs cite: “We want you to feel comfortable and confident

                                                          24   when using our products and services and with entrusting your personal and tax return

                                                          25

                                                          26

                                                          27

                                                          28
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                                                           1   information to us.” 10 CAC ¶¶ 25, 76, 198. A plain reading reflects no contractual promise that

                                                           2   customer data would be protected (as Plaintiffs suggest). In fact, the express terms of the

                                                           3   Agreements foreclose this assertion. They expressly disclaim any promise that Intuit’s services

                                                           4   are secure or free from theft. Part III.D supra. They further state that Intuit is not liable for

                                                           5   damages relating to security, loss, or theft of data, or for the inability to file a tax return, any delay

                                                           6   in preparing a tax return, or any access to, or use of, a customer’s password and user ID by an

                                                           7   unauthorized user. Id. The Agreements also clearly place the responsibility on Plaintiffs (not

                                                           8   Intuit) to maintain the confidentiality of their user ID and password, and to not permit third-party

                                                           9   access to their computer or tax files.11 Id.

                                                          10            A second fundamental problem with this theory is that no facts are alleged that would

                                                          11   constitute breach by Intuit of this purported obligation (if it even existed). Claimants simply

                                                          12   argue, in conclusory fashion, that Intuit breached “contractual obligations” by “failing to
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                                                          13   safeguard” their information, by “failing to prevent the fraudulent filing of tax returns”; and by
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                                                          14   “failing to timely notify customers that their personal and financial information had been

                                                          15   compromised.” CAC ¶ 200. But no allegations suggest that Intuit did not comply with any

                                                          16   federal or state regulatory scheme governing the safeguarding, security and treatment of taxpayer

                                                          17   information. See Part III.B supra. There are also no allegations of: how the customers’

                                                          18   information had been purportedly “compromised”; if and how Plaintiffs’ personal information

                                                          19   had been “compromised” from Intuit’s systems; or how Intuit could have known the filings were

                                                          20   fraudulent when filed. See CAC. Nor do Plaintiffs allege what Intuit—as an IRS authorized e-

                                                          21
                                                               10
                                                                  Although the CAC also references a contractual provision that “Intuit would notify the IRS of
                                                          22   the IP address from which the return originated” (see id. ¶ 76.b.), no breach thereof is alleged.
                                                               The CAC otherwise does not specify any other purported express obligation at issue. See
                                                          23   generally id. ¶¶ 194-202; Chirico v. Merrill Lynch, Pierce, Fenner & Smith, No. C 99-2263 CRB,
                                                               1999 WL 1285458, at *1-2 (N.D. Cal. Dec. 13, 1999) (dismissing claim for failure to identify
                                                          24   contract “and the provision that defendant allegedly breached”) (citation omitted).
                                                               11
                                                          25      Such an allocation of risk makes complete sense. It is within Plaintiffs’ control (and not
                                                               Intuit’s) as to: what password they will use; how complicated their password will be; whether
                                                          26   they will risk using the same or similar passwords across online accounts; how frequently they
                                                               will change their password; with whom they will share their user ID and password; with whom
                                                          27   they will share copies of their tax returns; where and how securely they will store their tax
                                                               returns; under what circumstances they will disclose their personal information to other third
                                                          28   parties; how they respond to phishing attempts; and if and when they may download malware.
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                                                           1   file provider—could have done to stop the submission of the returns. See id. Without specifics as

                                                           2   to what Intuit did or did not do to breach the Agreements, Plaintiffs’ claim should be dismissed.

                                                           3   Melican v. Regents of Univ. of Cal., 151 Cal. App. 4th 168, 174 (2007) (dismissing claim for

                                                           4   failing to specifically allege facts regarding breach, rejecting mere “general allegations,” and

                                                           5   explaining it is “well settled” that “a pleader must state with certainty the facts constituting a

                                                           6   breach of contract”); Dunkel v. eBay Inc., No. 5:12-CV-01452-EJD, 2014 WL 1117886, at *4

                                                           7   (N.D. Cal. Mar. 19, 2014) (Davila, J.) (dismissing claim for failure to identify existence of

                                                           8   contract and “relevant provision breached”).

                                                           9          Plaintiffs effectively seek to impose a contractual obligation on Intuit to guarantee the
                                                          10   detection and prevention of third-party fraud—a guarantee that, if breached, would leave Intuit
                                                          11   bearing almost limitless liability to its customers. This interpretation is unreasonable and directly
                                                          12   contradicts (and would render meaningless) the express terms of the governing Agreements. Ben-
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                                                               Zvi v. Edmar Co., 40 Cal. App. 4th 468, 473 (1995), as modified (Nov. 21, 1995) (“A contract
                                                          14   must be interpreted to give effect to the mutual, expressed intention of the parties. Where the
                                                          15   parties have reduced their agreement to writing, their mutual intention is to be determined,
                                                          16   whenever possible, from the language of the writing alone.”).
                                                          17          3.      Plaintiffs Fail to Allege Breach of the ICGFFD
                                                          18          To state a claim for breach of the ICGFFD, a plaintiff must allege: (a) a contract; (b) the

                                                          19   plaintiff fulfilled his or her obligations under that contract; (c) conditions precedent to defendant’s

                                                          20   performance occurred; (d) the “defendant unfairly interfered with plaintiff’s right to receive the

                                                          21   benefits of the contract”; and (e) “the plaintiff was harmed by defendant’s conduct.” Rosenfeld v.

                                                          22   JPMorgan Chase Bank, N.A., 732 F. Supp. 2d 952, 968 (N.D. Cal. 2010); Carma Developers

                                                          23   (Cal.), Inc. v. Marathon Dev. Cal., Inc., 2 Cal. 4th 342, 373, 376 (1992). The implied covenant

                                                          24   “rests upon the existence of some specific contractual obligation.” Racine & Laramie, Ltd. v.

                                                          25   Dep’t of Parks and Recreation, 11 Cal. App. 4th 1026, 1031 (1992) (citation omitted). The

                                                          26   covenant is implied as a supplement to the express contractual covenants, “to prevent a

                                                          27   contracting party from engaging in conduct which (while not technically transgressing the express

                                                          28   covenants) frustrates the other party’s rights to the benefits of the contract.” Id. at 1031-32
                                                               NOTICE OF MOTION AND MOTION TO DISMISS;
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                                                           1   (citation and internal quotation marks omitted). As such, the implied covenant cannot impose an

                                                           2   obligation at odds with the express terms of a contract. Third Story Music, Inc. v. Waits, 41 Cal.

                                                           3   App. 4th 798, 808 (1995).

                                                           4          Here, the ICGFFD theory fails for the same reasons as the express contract theory. First,

                                                           5   with respect to the Non-Customer Plaintiffs, no contract exists. Second, with respect to the

                                                           6   Customer Plaintiffs, the CAC alleges an ICGFFD “regarding contractual obligations…through

                                                           7   which Intuit had a good faith obligation to maintain the security of customers’ data, and to take

                                                           8   reasonable measures to protect customers from criminals using TurboTax to file fraudulent tax

                                                           9   returns using such customers’ identities.” CAC ¶ 199. However, Plaintiffs fail to tie this

                                                          10   purported implied covenant to any express obligation in the Agreements. This is because no such

                                                          11   express obligation exists whereby Intuit guarantees its customers that third parties would not file

                                                          12   fraudulent returns in their names. To the contrary, the Agreements place responsibility on
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                                                          13   customers to maintain the confidentiality of their user IDs and passwords and to protect their data.
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                                                          14   Part III.D supra. Such an implied covenant is also directly inconsistent with the Agreement’s

                                                          15   limitation of liability and disclaimer provisions. See id. (disclaiming loss or theft of data, limiting

                                                          16   damages, and disclaiming warranties from theft or that the software is secure). Because the

                                                          17   ICGFFD Plaintiffs seek to impose is inconsistent with and would vary the clear terms of the

                                                          18   express Agreements, this claim should be dismissed. Dunkel, 2014 WL 1117886, at *4-5.

                                                          19   B.     Plaintiffs Fail to State a Breach of the Implied Warranty of Merchantability
                                                                      (Seventh Count)
                                                          20

                                                          21          The Seventh Count also fails. First, the Non-Customer Plaintiffs cannot state an implied

                                                          22   warranty claim because they have no contract with Intuit. Contractual privity is a prerequisite for

                                                          23   recovery on a breach of implied warranty claim. See Castro Valley Union 76 v. Vapor Sys.

                                                          24   Techs., Inc., No. C 11-0299 PJH, 2012 WL 5199458, at *4 (N.D. Cal. Oct. 22, 2012); Atkinson v.

                                                          25   Elk Corp. of Texas, 142 Cal. App. 4th 212, 229 (2006) (“Privity…remain[s] a requirement for

                                                          26   actions based on the implied warranty of merchantability” (internal quotation marks and citation

                                                          27   omitted)). Thus, the Non-Customer Plaintiffs’ claim should be dismissed without leave to amend.

                                                          28   See Clemens v. DaimlerChrysler Corp., 534 F.3d 1017, 1024 (9th Cir. 2008) (affirming dismissal
                                                               NOTICE OF MOTION AND MOTION TO DISMISS;
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                                                           1   of implied warranty claims for lack of privity).

                                                           2           Second, the remaining Customer Plaintiffs’ claim should be dismissed without leave to
                                                           3   amend because the Agreements, on their face, include a conspicuous and valid warranty
                                                           4   disclaimer that satisfies the requirements of California Commercial Code § 2316. In California,
                                                           5   the implied warranty of merchantability is effectively excluded where the language of the
                                                           6   disclaimer (1) mentions merchantability and, in the case of a writing, (2) is conspicuous. Cal.
                                                           7   Com. Code § 2316(2). Section 2316 also provides that “all implied warranties are excluded by
                                                           8   expressions like ‘as is,’ ‘with all faults’ or other language which in common understanding calls
                                                           9   the buyer’s attention to the exclusion of warranties and makes plain that there is no implied
                                                          10   warranty.” Id. at § 2316(3)(a). A disclaimer is “conspicuous” if it is “so written, displayed, or
                                                          11   presented that a reasonable person against whom it is to operate might have noticed it.” Cal.
                                                          12   Com. Code § 1201(10). Examples of conspicuous terms include: “(A) a heading in capitals
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                                                               equal to or greater in size than the surrounding text, or in contrasting type, font, or color to the
                                                          14   surrounding text of the same or lesser size; and (B) language in the body of a record or display in
                                                          15   larger type than the surrounding text, or in contrasting type, font, or color to the surrounding text
                                                          16   of the same size, or set off from surrounding text of the same size by symbols or other marks that
                                                          17   call attention to the language.” Id.
                                                          18           Here, the warranty disclaimers in all of the Agreements are substantively identical and
                                                          19   satisfy the conspicuousness requirement under the Commercial Code. Each disclaimer is set out
                                                          20   separately under a bolded “DISCLAIMER OF WARRANTIES” heading, with the disclaiming
                                                          21   text in all capital letters, serving to distinguish the disclaimer and call special attention to it. See
                                                          22   TY13 TTO TOS § A.8; TY10 TTD EULA § B.6; TY13 TTD EULA § A.8. Each disclaimer
                                                          23   specifically: excludes “ALL WARRANTIES,” including any warranty of merchantability;
                                                          24   contains “AS-IS” language which Section 2316(3)(a) states is itself sufficient to act as a
                                                          25   disclaimer of all implied warranties; and uses language which makes plain to the user that there is
                                                          26   no implied warranty. Cal. Com. Code §§ 2316(2); 2316(3)(a).
                                                          27           Courts routinely enforce warranty disclaimers like this one on motions to dismiss, and in

                                                          28   fact, a virtually identical warranty disclaimer in Intuit’s license agreements has been enforced in
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                                                           1   this district. See Inter-Mark USA, Inc. v. Intuit Inc., No. C-07-04178 JCS, 2008 WL 552482, at

                                                           2   *8-9 (N.D. Cal. Feb. 27, 2008) (granting motion to dismiss breach of implied warranty claim

                                                           3   without leave to amend); see also, e.g., In re Sony Gaming Networks & Customer Data Sec.

                                                           4   Breach Litig., 996 F. Supp. 2d 942, 983 (S.D. Cal. 2014) (dismissing implied warranty claims

                                                           5   without leave to amend where agreements disclaimed all claims arising under implied warranty of

                                                           6   merchantability and stated all services were provided “AS IS”). Accordingly, the Seventh Count

                                                           7   should be dismissed with prejudice. See Inter-Mark, WL 552482, at *8-9.

                                                           8   C.       Plaintiffs Fail to State a Claim of Negligence (Fifth Count)

                                                           9            The negligence claim fails because: (1) it is barred by the economic loss doctrine12 with
                                                          10   respect to the Customer Plaintiffs; and (2) Intuit owes no duty to the Non-Customer Plaintiffs.
                                                          11            1.     The Economic Loss Doctrine Bars the Customer Plaintiffs’ Negligence Claims
                                                          12            The economic loss doctrine bars recovery of purely economic losses in tort actions absent
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                                                          13   personal injury or physical damage to one’s property. Aas v. Superior Court, 24 Cal. 4th 627,
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                                                          14   643 (2000) (“A person may not ordinarily recover in tort for the breach of duties that merely

                                                          15   restate contractual obligations.”), superseded by statute on other grounds, Cal. Civ. Code §§ 895,

                                                          16   et seq. The rule contemplates the divergent purposes behind contract and tort damages, and is

                                                          17   designed to “prevent[] the law of contract and the law of tort from dissolving into one another.”

                                                          18   Robinson Helicopter Co. v. Dana Corp., 34 Cal. 4th 979, 988 (2004). Whereas contract damages

                                                          19   are “generally limited to those within the contemplation of the parties when the contract was

                                                          20   entered into or at least reasonably foreseeable by them at that time…tort damages are awarded to

                                                          21   compensate the victim for injury suffered…whether it could have been anticipated or not.”

                                                          22   Applied Equip. Corp. v. Litton Saudi Arabia Ltd., 7 Cal. 4th 503, 515-16 (1994). Thus, by

                                                          23   limiting recovery to contract damages, the economic loss rule makes it easier for parties to

                                                          24   “estimate in advance the financial risks of their enterprise.” Freeman & Mills, Inc. v. Belcher Oil

                                                          25   Co., 11 Cal. 4th 85, 106 (1995) (quoting Applied Equip. Corp., 7 Cal. 4th at 515)).

                                                          26
                                                               12
                                                          27     On this Motion, Intuit raises only the economic loss doctrine with respect to the Customer
                                                               Plaintiffs on the negligence counts. By so doing, Intuit does not concede (and expressly reserves
                                                          28   the right to dispute) that it owes any common law duty to customers.
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                                                           1            Here, the Customer Plaintiffs allege no physical injury or damage to property as a result of

                                                           2   Intuit’s purported negligence.13 Rather, their alleged damages consist entirely of economic

                                                           3   damages associated with their identity theft or fraud remediation efforts—e.g., out-of-pocket

                                                           4   costs for filing a paper return; inability to e-file a tax return; costs associated with credit

                                                           5   monitoring; lost time; and delays in receiving any tax refunds. See CAC ¶¶ 82-84, 94-95, 98-100,

                                                           6   107-110, 116, 126, 128-131. These are precisely the type of economic damages contemplated

                                                           7   and barred by the economic loss rule, and which courts have refused to allow under a tort theory

                                                           8   of recovery. See, e.g., In re Sony Gaming Networks & Customer Data Sec. Breach Litig., 996 F.

                                                           9   Supp. 2d 942, 972 (S.D. Cal. 2014) (dismissing negligence claims brought under California law

                                                          10   in data breach case under the economic loss rule). Without any allegations of personal injury or

                                                          11   property loss, Plaintiffs cannot plead around the Agreements and recover in tort what are

                                                          12   explicitly disclaimed by contract. To hold otherwise would eviscerate the distinction between tort
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                                                               and contract remedies and handicap Intuit’s ability to calculate the financial risks of its
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                                                          14   commercial relationship with its customers. See Erlich v. Menezes, 21 Cal. 4th 543, 554 (1999)

                                                          15   (“If every negligent breach of a contract gives rise to tort damages the [economic loss] limitation

                                                          16   would be meaningless, as would the statutory distinction between tort and contract remedies.”).

                                                          17   The Customer Plaintiffs’ negligence claim should be dismissed. See McKinney v. Google, Inc.,

                                                          18   No. 5:10-CV-01177 EJD (PSG), 2011 WL 3862120, at *8 (N.D. Cal. Aug. 30, 2011) (Davila, J.)

                                                          19   (dismissing negligence claim where plaintiff does not allege any injury beyond economic loss).

                                                          20            2.     Intuit Owes No Duty to Non-Customers

                                                          21            The Third Count should be dismissed as to the remaining Non-Customer Plaintiffs

                                                          22   because Intuit owes no duty to them as non-customers. Courts primarily consider the

                                                          23   foreseeability of the risk in determining whether to impose a duty of care, and generally do not

                                                          24   impose one in the identity theft or fraud context where there is no direct relationship between the
                                                               13
                                                          25     Although this is not a data breach case, courts in such cases have soundly rejected arguments
                                                               that exposure or misappropriation of PII amounts to “property damage” supporting tort liability.
                                                          26   See Corona v. Sony Pictures Entm’t, Inc., No. 14-CV-09600 RGK EX, 2015 WL 3916744, at *4
                                                               (C.D. Cal. June 15, 2015) (noting PII has no compensable value in economy at large (citation
                                                          27   omitted)); In re Sony Gaming Networks & Customer Data Sec. Breach Litig., 903 F. Supp. 2d
                                                               942, 974 (S.D. Cal. 2012) (under California law, consumers’ personal information did not
                                                          28   constitute personal property).
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                                                           1   parties. See, e.g., Burns v. Neiman Marcus Grp., Inc., 173 Cal. App. 4th 479, 488-90 (2009)

                                                           2   (department store had no duty to non-customer to inquire before accepting third-party checks

                                                           3   where third party used non-customer’s checks to pay off department store credit card); Casey v.

                                                           4   U.S. Bank Nat’l Ass’n, 127 Cal. App. 4th 1138, 1149 (2005) (“[A] bank owes no duty to

                                                           5   nondepositors to investigate or disclose suspicious activities on the part of an account holder.”);

                                                           6   Chazen v. Centennial Bank, 61 Cal. App. 4th 532, 543-45 (1998); Karen Kane v. Bank of

                                                           7   America Nat’l Trust & Sav. Ass’n, 67 Cal. App. 4th 1192, 1197-1203 (1998) (no duty of inquiry

                                                           8   to non-customer with no pre-existing relationship).14

                                                           9            Even if the Court were to consider an exception to this general rule, the CAC fails to
                                                          10   allege sufficient facts to impose a duty on Intuit for non-customers. Here, the CAC alleges Intuit
                                                          11   had a duty to “detect and prevent the unauthorized use on TurboTax of the identities of non-
                                                          12   TurboTax customers to prepare and/or file fraudulent tax returns.” CAC ¶ 190. However,
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                                                               foreseeability of harm to non-customers turns on whether the plaintiffs have alleged “objective
                                                          14   indicia” of fraud. See Joffe v. United Cal. Bank, 141 Cal. App. 3d 541, 556 (1983). Neither
                                                          15   Brown nor Fugatt has done so. Both purportedly received invoices from Intuit seeking payment
                                                          16   for TurboTax services for TY14 despite never providing their information to TurboTax or
                                                          17   authorizing TurboTax to file any tax returns on their behalves. CAC ¶¶ 65, 67, 85-86. But
                                                          18   nothing in the CAC suggests Intuit had reason to believe the returns were fraudulent. Intuit had
                                                          19   no prior dealings with them, and no facts suggest Intuit could have known the TurboTax accounts
                                                          20   opened in their names were not legitimate. Intuit thus owed no duty to inquire into these
                                                          21   accounts. To hold otherwise would effectively impose on Intuit a duty to the entire universe of
                                                          22   American taxpayers and “stretch the concept of foreseeability of harm in determining duty
                                                          23   beyond recognition.” Burns, 173 Cal. App. 4th at 489.
                                                          24

                                                          25

                                                          26   14
                                                                  Although the question of whether to impose a general duty on IRS e-file providers is one of
                                                          27   first impression, California law is clear in the banking context that “absent extraordinary and
                                                               specific facts, a bank does not owe a duty of care to a noncustomer.” See Software Design &
                                                          28   Application, Ltd. v. Hoefer & Arnett, Inc., 49 Cal. App. 4th 472, 479 (1996).
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                                                           1   D.       The Negligent Enablement of Third Party Imposter Fraud (Fourth Count) Should
                                                                        Be Dismissed Without Leave to Amend15
                                                           2

                                                           3            Plaintiffs’ Fourth Count for negligent enablement of third party imposter fraud fails

                                                           4   because it is not a cognizable claim. Although an issue of first impression in California, courts

                                                           5   have almost uniformly refused to recognize negligent enablement of imposter fraud as a claim

                                                           6   separate and distinct from ordinary negligence. See Taylor & Co. v. Bank of Am. Corp., No.

                                                           7   3:14-cv-00092-MOC-DSC, 2014 WL 3557679, at *2 (W.D.N.C. July 18, 2014) (no tort claim for

                                                           8   negligent enablement of imposter fraud under North Carolina law); Huggins v. Citibank, N.A.,

                                                           9   355 S.C. 329, 334 (2003) (refusing to recognize claim under South Carolina law where plaintiff

                                                          10   sued bank for issuing credit card in plaintiff’s name to unknown imposter, since there is “no duty

                                                          11   on the part of credit card issuers to protect potential victims of identity theft”); Polzer v. TRW,

                                                          12   Inc., 256 A.D.2d 248, 248 (N.Y. App. Div. 1998) (same under New York law); SFS Check, LLC
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                                                          13   v. First Bank of Del., 774 F.3d 351, 357 (6th Cir. 2014) (“Although we recognize the serious
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                                                          14   threat posed by identity theft, we are not prepared to impose a new duty on banks, particularly

                                                          15   one that has been rejected by courts across the country.”). This Court should follow the majority

                                                          16   of jurisdictions and decline to create a new separate tort from that of ordinary negligence.16

                                                          17   E.       Plaintiffs Fail to State a CRA Violation (Second Count)

                                                          18            The CAC asserts (on behalf of only the Customer Plaintiffs) violation of Sections

                                                          19   1798.81.5 and 1798.82 of the CRA. See CAC ¶¶ 156-63; Cal. Civ. Code § 1798.81.5(b)

                                                          20   (requiring “[a] business that owns, licenses, or maintains personal information about a California

                                                          21   resident…implement and maintain reasonable security procedures and practices…to protect the

                                                          22   personal information from unauthorized access, destruction, use, modification, or disclosure”); id.

                                                          23   15
                                                                  The Fourth Count is the only count brought by only the Fraudulent Tax Return Filing Class.
                                                               16
                                                          24      Even if this Court were to allow this claim (though it should not), it still fails for the same
                                                               reasons as the negligence count. See Part V.C. supra. While no courts have analyzed negligence
                                                          25   in the unique context of tax fraud through an IRS e-file provider, in cases involving financial
                                                               institutions’ alleged enablement of third party criminals to commit identity theft courts have used
                                                          26   the ordinary negligence framework. See Software Design & Application, 49 Cal. App. 4th at 478-
                                                               83 (analyzing negligence claim brought against credit card issuer and finding defendant owed no
                                                          27   duty to non-customer plaintiff); Chazen, 61 Cal. App. 4th at 543-45 (defendant bank owed no
                                                               duty of care to a non-depositor third party); Karen Kane, 67 Cal. App. 4th at 1199 (check cashing
                                                          28   service and bank owed no duty of inquiry to non-customer).
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                                                           1   § 1798.82 (requiring businesses to “disclose a breach of the security of the system following

                                                           2   discovery or notification of the breach in the security of the data to a resident of California whose

                                                           3   unencrypted personal information was, or is reasonably believed to have been, acquired by an

                                                           4   unauthorized person”).

                                                           5            Here, the CRA claim should be dismissed for three reasons. First, it should be dismissed
                                                           6   as to all but Siegel because they are not California residents. Second, the Section 1798.81.5 claim
                                                           7   fails because Intuit is exempt under 1798.81.5(e)(5). Third, the Section 1798.82 fails because
                                                           8   Siegel has not established Article III standing.
                                                           9            1.     The Non-California Customer Plaintiffs Cannot Bring a CRA Claim
                                                          10            The CRA’s plain language limits its application to only California residents. Id. §
                                                          11   1798.81.5 (legislative intent “to ensure that personal information about California residents is
                                                          12   protected,” and “purpose” “to encourage businesses that own, license, or maintain personal
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                                                               information about Californians to provide reasonable security for that information”); id.
                                                          14   § 1798.82(a) (requiring businesses to “disclose a breach of the security of the system…of the data
                                                          15   to [any] resident of California”). Courts have likewise concluded only California residents can
                                                          16   bring claims under Sections 1798.81.5 and 1798.82. See Corona v. Sony Pictures Entm’t, Inc.,
                                                          17   No. 14-CV-09600 RGK EX, 2015 WL 3916744, at *7 (C.D. Cal. June 15, 2015) (“[I]t is clear
                                                          18   that the statute intends to protect California residents in their role [as] customers.”); Antman v.
                                                          19   Uber Techs., Inc., Case No. 3:15-cv-01175-LB, 2015 WL 6123054, at *12 (N.D. Cal. Oct. 19,
                                                          20   2015) (Sections 1798.81.5 and 1798.82 protect “personal information about California
                                                          21   residents”). Diaz, Lebinski, Stock, and Williams’ CRA claim should be dismissed without leave
                                                          22   to amend because they are not California residents.
                                                          23            2.     Intuit is Exempt Under Subsection 1798.81.5(e)(5)
                                                          24            The remaining plaintiff Siegel’s17 Section 1798.81.5 claim fails because the statute’s

                                                          25   provisions regarding reasonable security measures do not apply to Intuit. Cal. Civ. Code §

                                                          26   1798.81.5(e). Section 1798.81.5 specifically exempts any business “regulated by state or federal

                                                          27   17
                                                                 If the Court were to nevertheless allow the Non-California Customer Plaintiffs to proceed with
                                                          28   their CRA claim, it would fail for the same reasons as Siegel’s.
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                                                           1   law providing greater protection to personal information than that provided by [Section

                                                           2   1798.81.5].” Id. § 1798.81.5(e)(5). For these exempt businesses, compliance with such state or

                                                           3   federal laws “shall be deemed compliance with [Section 1798.81.5] with regard to those

                                                           4   subjects.” Id. As a business engaged in providing services in connection with the preparation of

                                                           5   tax returns and an authorized IRS e-file provider, Intuit is governed by various federal

                                                           6   regulations, including the IRC, accompanying IRS rules, regulations, guidance, and even certain

                                                           7   GLBA and FTC requirements. See Part III.B supra. The California Legislature intended to

                                                           8   exempt entities like Intuit that are already governed by such privacy rules and regulations. See

                                                           9   Sen. Com. on Judiciary, Analysis of Assem. Bill No. 1950 (2003-2004 Reg. Sess.) as amended,

                                                          10   May 25, 2004, p.1) (“This bill seeks to establish a broadly applicable baseline standard for the

                                                          11   treatment of personal information by entities which are not covered by specific privacy statutes”

                                                          12   (citing GLBA as one such already-existing privacy law)); id. at 5 (exemption “reflects the
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                                                          13   author’s intent that the bill serve as a ‘gap filler’ for entities or information that [were] not
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                                                          14   covered by existing law”); IRS Pub. 3112 at 18 (noting GLBA and implementing rules and

                                                          15   regulations promulgated by FTC “include rules that are designed to ensure the security and

                                                          16   privacy of taxpayer information and are applicable to Providers”).

                                                          17           Here, no alleged facts plausibly suggest Intuit is non-compliant with federal regulations
                                                          18   governing its use and security of taxpayer information. See CAC. Absent that, Intuit is exempt
                                                          19   under Section 1798.81.5(e)(5) and the CAC fails to state a violation of Section 1798.81.5.
                                                          20           3.      Siegel Lacks Standing to Bring the Section 1798.82 Claim
                                                          21           Article III standing requires a plaintiff to “plead and prove that [he or] she has suffered

                                                          22   sufficient injury to satisfy the ‘case or controversy’ requirement of Article III of the United States

                                                          23   Constitution.” In re Adobe Sys., Inc. Privacy Litig., 66 F. Supp. 3d 1197, 1211 (N.D. Cal. 2014)

                                                          24   (citing Clapper v. Amnesty Int’l USA, 133 S. Ct. 1138, 1146 (2013)). “[A] plaintiff must

                                                          25   therefore allege: (1) injury-in-fact that is concrete and particularized, as well as actual or

                                                          26   imminent; (2) that the injury is fairly traceable to the challenged action of the defendant; and (3)

                                                          27   that the injury is redressable by a favorable ruling.” In re Adobe Sys., Inc. Privacy Litig., 66 F.

                                                          28   Supp. 3d at 1211.
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                                                           1          Here, Siegel alleges Intuit violated Section 1798.82 by “failing to promptly notify all

                                                           2   affected TurboTax customers that criminals had used TurboTax to file fraudulent tax returns

                                                           3   using their identities.” CAC ¶ 159. But Siegel does not allege a cognizable injury stemming

                                                           4   from Intuit’s supposed failure to timely notify him “that criminals had used TurboTax to file

                                                           5   fraudulent tax returns using [his identity].” Id. In other words, he has not alleged any

                                                           6   incremental harm as a result of the delay in notification that is separate from the harm associated

                                                           7   with the alleged fraudulent filing. In fact, the CAC is totally silent on this issue. Id. ¶¶ 156-163.

                                                           8          Under these circumstances, courts dismiss Section 1798.82 claims for lack of Article III

                                                           9   standing. See, e.g., In re Adobe Sys., Inc. Privacy Litig., 66 F. Supp. 3d at 1217-18 (dismissing

                                                          10   Section 1798.82 claim for lack of Article III standing because plaintiffs failed “to allege any

                                                          11   injury resulting from a failure to provide reasonable notification of the…data breach” i.e.,

                                                          12   plaintiffs did not allege they “suffered any incremental harm as a result of the delay”); Antman,
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                                                               2015 WL 6123054, at *11 (dismissing CRA and UCL claims for lack of Article III standing
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                                                          14   because no injury-in-fact pled, including “injury related to the delay [in notification],” noting that

                                                          15   “delay alone is not enough”). The Court should similarly do so here.

                                                          16   F.     The Aiding and Abetting Fraud Claim (Third Count) Fails

                                                          17          To state a claim for aiding and abetting an intentional tort, a plaintiff must plead that the

                                                          18   defendant: (1) had actual knowledge of the specific primary wrong; and (2) substantially assisted

                                                          19   in it. Casey, 127 Cal. App. 4th at 1145. These elements are subject to the heightened pleading

                                                          20   requirements of Rule 9(b). S.E.C. v. Berry, 580 F. Supp. 2d 911, 923-24 (N.D. Cal. 2008).

                                                          21   Substantial assistance must be pled with particularity, while actual knowledge may be averred

                                                          22   generally. Fed. R. Civ. P. 9(b); Allstate Ins. Co. v. Countrywide Fin. Corp., 824 F. Supp. 2d

                                                          23   1164, 1188 (C.D. Cal. 2011). Plaintiffs do not satisfy either element.

                                                          24          1.      Plaintiffs Have Not Pled Actual Knowledge

                                                          25          First, Plaintiffs must allege that Intuit possessed actual knowledge of the specific primary

                                                          26   violation. Casey, 127 Cal. App. 4th at 1152. This requires pleading “more than a vague

                                                          27   suspicion of wrongdoing.” In re First Alliance Mortg. Co., 471 F.3d 977, 993 n.4 (9th Cir. 2006).

                                                          28   “[A]iding and abetting…necessarily requires a defendant to reach a conscious decision to

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                                                           1   participate in tortious activity for the purpose of assisting another in performing a wrongful act.”

                                                           2   Casey, 127 Cal. App. 4th at 1146-52 (emphasis in original) (citation omitted) (holding trustee of

                                                           3   bankrupt corporation failed to state aiding and abetting claim against banks for allegedly

                                                           4   facilitating looting by fiduciaries where it was only generally alleged bank knew fiduciaries were

                                                           5   involved in “wrongful or illegal conduct,” but did not plead actual, specific knowledge).

                                                           6          Here, the CAC alleges that Intuit “knew that criminals intended to utilize TurboTax to file
                                                           7   fraudulent tax returns,” “knew that criminals would use [PII] obtained through Intuit or from
                                                           8   other sources to file fraudulent tax returns through TurboTax,” and “intended for criminals to use
                                                           9   TurboTax, rather than Intuit’s competitors, to file fraudulent returns.” CAC ¶¶ 167-69. These
                                                          10   allegations are insufficient to establish actual knowledge of the specific primary violation because
                                                          11   Plaintiffs do not allege that Intuit could determine the difference between a legitimate tax return
                                                          12   and a fraudulent one. See E-Shops Corp. v. U.S. Bank Nat’l Ass’n, 678 F.3d 659, 664 (8th Cir.
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                                                               2012) (affirming dismissal where plaintiff failed to plead bank knew information processed from
                                                          14   cardholders were false at the time of receipt). Plaintiffs also assert that Intuit “intended to aid and
                                                          15   abet criminals in the fraudulent filing of tax returns by transmitting the fraudulent tax returns in
                                                          16   Plaintiffs’ and Class members’ names to the IRS and state agencies.” Id. ¶ 173. But for this to be
                                                          17   true, Intuit would have to have known which tax returns were fraudulent and intentionally
                                                          18   transmitted them to the taxing authorities anyway. Plaintiffs do not allege this anywhere. Nor
                                                          19   could they, as only the IRS or the equivalent state taxing authority can determine which tax
                                                          20   returns are fraudulent. See supra n.6.
                                                          21          Plaintiffs also inadequately plead actual knowledge because the CAC does not allege that

                                                          22   Intuit knew that the specific tax returns filed in Plaintiffs’ names were fraudulent when filed. At

                                                          23   best, the CAC alleges only that Intuit knew generally that fraudulent tax returns were being filed

                                                          24   through TurboTax. Id. ¶¶ 167-69. But to hold Intuit liable for aiding and abetting fraud,

                                                          25   Plaintiffs must allege that Intuit “knew that a tort had been, or was to be, committed, and acted

                                                          26   with the intent of facilitating the commission of that tort.” Casey, 127 Cal. App. 4th at 1145-46

                                                          27   (internal citation and quotation marks omitted) (emphasis in original). Intuit cannot aid and abet

                                                          28   another’s tort if it did not know the tort was being committed, who was committing it, and against
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                                                           1   whom the tort was being committed. Casey, 127 Cal. App. 4th at 1145-46 (“[A] defendant can

                                                           2   only aid and abet another’s tort if the defendant knows what ‘that tort’ is…[T]he defendant must

                                                           3   have acted to aid the primary tortfeasor ‘with knowledge of the object to be attained.’” (internal

                                                           4   citations omitted)). Without allegations showing Intuit knew that the specific returns filed using

                                                           5   Plaintiffs’ personal information were fraudulent, or even that it could distinguish between a

                                                           6   fraudulent return and a legitimate one, the aiding and abetting claim fails.

                                                           7            2.     Plaintiffs Have Not Pled Substantial Assistance
                                                           8            Second, Plaintiffs fail to plead substantial assistance because: (1) the mere failure to act
                                                           9   does not give rise to substantial assistance; and (2) Plaintiffs fail to plead it with the requisite
                                                          10   particularity required by Rule 9(b). To establish substantial assistance, Plaintiffs must plead
                                                          11   Intuit’s actions were a “substantial factor” in causing their injuries. Facebook, Inc. v. MaxBounty,
                                                          12   Inc., 274 F.R.D. 279, 285 (N.D. Cal. 2011) (citation omitted). Substantial assistance requires “a
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                                                               significant and active, as well as a knowing participation in the wrong.” Alfus v. Pyramid Tech.
                                                          14   Corp., 745 F. Supp. 1511, 1520 (N.D. Cal. 1990) (citation omitted). A mere failure to act does
                                                          15   not constitute substantial assistance and “cannot be the basis for liability unless the party failing
                                                          16   to [act] owes a fiduciary or statutory duty [to the plaintiffs].” ARB, Inc. v. Luz Const., Inc., 972
                                                          17   F.2d 1336, 1992 WL 164487, at *3 (9th Cir. July 16, 1992).
                                                          18            Here, Plaintiffs’ allegations that Intuit aided and abetted by failing to do something—i.e.,

                                                          19   failing to implement adequate security measures to verify a user’s identity when an account is

                                                          20   created or accessed, or when a tax return is filed, and failing to timely report suspicious filings to

                                                          21   the IRS and state agencies (see CAC ¶¶ 170-72, 174)—cannot give rise to aiding and abetting

                                                          22   liability.18 Fiol v. Doellstedt, 50 Cal. App. 4th 1318, 1326 (1996) (“Mere knowledge that a tort is

                                                          23   being committed and the failure to prevent it does not constitute aiding and abetting.”). And

                                                          24   Plaintiffs have not (and cannot) allege that Intuit owes them any fiduciary or statutory duty. See

                                                          25   18
                                                                  Plaintiffs’ sole allegation of any affirmative action by Intuit is that it “transmitted” the
                                                          26   fraudulent tax returns to the IRS and relevant state authorities. CAC ¶ 173. Even if this were
                                                               enough to qualify as “substantial assistance” (though it does not) as stated in Part III.B supra,
                                                          27   Intuit is statutorily obligated to transmit returns to the IRS unless otherwise expressly authorized.
                                                               See IRS Pub. 1345 at 34 (requiring e-file provider to “[t]ransmit all electronic portions of returns
                                                          28   within three calendar days of receipt”).
                                                               NOTICE OF MOTION AND MOTION TO DISMISS;
                                                               MEMO. OF POINTS AND AUTHORITIES IN
                                                               SUPPORT THEREOF                                        24              Master Docket No. 15-CV-01778-EJD
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                                                           1   CAC; TY13 TTO TOS § B.9 (“You agree that Intuit is not acting as your agent or fiduciary in

                                                           2   connection with your use of the Software or any Services.”); see also, e.g., Nwabueze v. AT&T

                                                           3   Inc., No. C 09-1529 SI, 2011 WL 332473, at *20 (N.D. Cal. Jan. 29, 2011) (no fiduciary

                                                           4   relationship where customers provided confidential information in purchase of phone service).

                                                           5          This claim also fails because Plaintiffs have not pled substantial assistance with
                                                           6   particularity. Allstate Ins. Co., 824 F. Supp. 2d at 1188. To satisfy the heightened pleading
                                                           7   requirement of Rule 9(b), Plaintiffs must allege the “who, what, when, where, and how” of the
                                                           8   charged misconduct. Cooper v. Pickett, 137 F.3d 616, 627 (9th Cir. 1997). Here, Plaintiffs have
                                                           9   not identified the third party fraudsters who filed fraudulent tax returns in Plaintiffs’ names. See,
                                                          10   e.g., E-Shops Corp. v. U.S. Bank Nat’l Ass’n, 795 F. Supp. 2d 874, 877 (D. Minn. 2011)
                                                          11   (dismissing aiding and abetting fraud claim against bank that issued credit cards allegedly used in
                                                          12   fraudulent purchase of merchandise from plaintiff’s website where plaintiff failed to plead
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13
                                          MOUNTAIN VIEW




                                                               identity of who had engaged in alleged fraudulent conduct; general allegations that unspecified
                                                          14   third parties engaged in fraudulent transactions were insufficient). Without sufficient specificity
                                                          15   into who engaged in the underlying fraud, Plaintiffs’ aiding and abetting claim must fail.
                                                          16   G.     The Unjust Enrichment Claim (Eighth Count) Should Be Dismissed Without Leave
                                                                      to Amend
                                                          17

                                                          18          The Eighth Count should be dismissed without leave to amend because it is not a claim
                                                          19   under California law. Durell v. Sharp Healthcare, 183 Cal. App. 4th 1350, 1370 (2010) (“[N]o
                                                          20   cause of action in California for unjust enrichment”) (internal quotations and citations omitted);
                                                          21   Williamson v. Apple, Inc., No. 5:11-cv-00377 EJD, 2012 WL 3835104, at *10 (N.D. Cal. Sept. 4,
                                                          22   2012) (Davila, J.) (dismissing claim “because it is not a recognized claim in California”).
                                                          23                                         VI.     CONCLUSION
                                                          24          For the foregoing reasons, Intuit requests its Motion be granted in its entirety.

                                                          25   Dated: December 1, 2015                       FENWICK & WEST LLP
                                                                                                             By: /s/ Rodger R. Cole
                                                          26                                                     Rodger R. Cole
                                                                                                                 Attorneys for Defendant
                                                          27                                                     INTUIT INC.
                                                          28
                                                               NOTICE OF MOTION AND MOTION TO DISMISS;
                                                               MEMO. OF POINTS AND AUTHORITIES IN
                                                               SUPPORT THEREOF                                      25              Master Docket No. 15-CV-01778-EJD
